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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF MINNESOTA
                                   Crim. No. 18-150(1) (DWF/HB)



 UNITED STATES OF AMERICA,                     )
                                               )
                   Plaintiff,                  )      Defendant’s Proposed Voir Dire
                                               )      Questions
         vs.                                   )
                                               )
 MICHAEL HARI,                                 )
                                               )
                   Defendant.                  )



        Michael Hari, by and through his attorneys, Shannon Elkins and James Becker, hereby

respectfully requests that the Court inquire of the jury panel as follows:

                                       BASIC BACKGROUND

   1.          Where were you born and raised? Where do you live now?

   2.          What is your educational background?

   3.          Do you have children? If so, what are their ages, and employment if any.

   4.          What organizations or groups do you belong to?

   5.          Have you or anyone in your immediate family ever served in the military or army

               reserves?

   6.          Do you have any religious or philosophical convictions which would make it

               difficult for you to be an absolutely fair and neutral juror in this case?
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                             PREVIOUS JURY SERVICE

7.     Have you ever had any jury experience before? If so, on how many juries have you

       served?

8.     Were these in criminal or civil cases? Was there a verdict?

9.     Was it state or federal?

10.    Was there anything about your previous jury experience that would lead you to feel

       that you may have some prejudices either for or against the prosecution or the defense

       in this case?

              PREVIOUS CONTACT WITH LAW ENFORCEMENT

11.    Have you or any relatives, friends, neighbors, or acquaintances ever been involved in

       law enforcement, such as police officer, deputy sheriffs, federal agents, prosecutors?

12.    (If so), is there anything about your experience, or your relationship or discussions with

       these other people that would affect your approach to this case?

13.    Do you believe law enforcement agents are more honest or trustworthy than other

       people?

14.    Would you be more likely to believe the testimony of a law enforcement officer simply

       because he or she is a law enforcement officer?

                                  LEGAL EXPERIENCE

15.    Do you have any legal training?

16.    Have you ever testified in court?
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                                         CRIME

17.    Have you or any friends, relatives, neighbors or acquaintances ever been victims of a

       crime? (If so), would your judgment in this case be affected in any way by that

       experience?

18.    Have you or any of your friends, relatives, neighbors or acquaintances ever been

       accused, investigated, charged with or convicted of a crime? (If so), would your

       judgment in this case be affected in any way by that experience?

                               DESTRUCTIVE DEVICE

19.    The allegation in this case involves the use of a destructive device. Do you believe

       that you could be a fair and impartial juror in a case that involved an allegation of the

       use of a destructive device?

20.    Have you ever seen a destructive device in person?

21.    Have you ever known anyone to make or use a destructive device?

22.    Do you belong to the National Rifle Association (NRA) or any other gun advocacy

       groups?

23.    Do you own any firearms? If so, are they for hunting or protection? Are they long

       guns or handguns?

24.    Is there anyone here who is afraid of guns or would feel uncomfortable with a gun in

       the courtroom or jury room?


                           FOLLOWING INSTRUCTIONS

25.    Will you follow the Court’s instructions to the jury strictly, whether you agree or

       disagree with them?
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26.    Do you understand and agree that the burden of proof is exclusively on the government

       and that evidence must show guilt beyond a reasonable doubt or you must find Mr.

       Hari not guilty?

27.    Do you understand and agree with the principle that Mr. Hari is presumed innocent and

       that the presumption is sufficient to require a verdict of not guilty unless it is overcome

       by proof beyond a reasonable doubt?

28.    Will you be able to find Mr. Hari not guilty if the government does not prove its case

       beyond a reasonable doubt?

29.    Do you understand and agree with the principle that Mr. Hari has absolutely no

       obligation to produce any evidence, to prove his innocence, to testify, or to satisfy any

       burden of proof?

30.    Do you understand that the fact that an Indictment has been filed in this case is no

       evidence whatsoever of guilt?

31.    Do you understand that just because an Indictment has been filed, no inference of guilt

       may be drawn from that accusation?

                                       SUMMARY

32.    As you sit here now, do you have any opinion about this case, or as to what the

       result should be?
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Dated: September 29, 2020             Respectfully submitted,

                                      s/Shannon Elkins

                                      SHANNON ELKINS
                                      Attorney ID No. 332161
                                      Attorney for Mr. Hari
                                      107 U.S. Courthouse
                                      300 South Fourth Street
                                      Minneapolis, MN 55415


                                      s/James S. Becker

                                      JAMES S. BECKER
                                      Attorney ID No. 388222
                                      Attorney for Mr. Hari
                                      107 U.S. Courthouse
                                      300 South Fourth Street
                                      Minneapolis, MN 55415
